
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date February 23, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate .Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the rec-ord and briefs leads us to conclude that -there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The attorney for the respondent Margot Muguercia is hereby awarded a fee in the amount of $250.00 for services in this Court.
It is so ordered. '
THORNAL, C. J., and DREW, O’CON-NELL and ERVIN, JJ., concur. /
CALDWELL, J., dissents.
